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                    IN THE UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA

                                                      )
STANDING ROCK SIOUX TRIBE,                            )
                                                      )
       Plaintiff,                                     )
                                                      )
and                                                   )
                                                      )
CHEYENNE RIVER SIOUX TRIBE,                           )
                                                      )
       Plaintiff-Intervenor,                          )
                                                      )
v.                                                    )       Case No. 1:16-cv-01534 (JEB)
                                                      )        (consolidated with Cases No.
UNITED STATES ARMY CORPS OF                           )      1:16-cv-01796 & 1:17-cv-00267)
ENGINEERS,                                            )
                                                      )
       Defendant,                                     )
                                                      )
and                                                   )
                                                      )
DAKOTA ACCESS, LLC,                                   )
                                                      )
       Defendant-Intervenor.                          )
                                                      )


         UNITED STATES ARMY CORPS OF ENGINEERS’ STATUS REPORT


       On August 10, this Court directed the Corps to “submit a status report by August 31,

2020, detailing the options it is considering on vacatur, steps taken by that point, and those that

remain.” Minute Order dated August 10, 2020. The Court also directed that, “[i]n the interim,

the parties shall discuss in good faith mitigation measures that could lessen the likelihood and

severity of any oil leak in or around Lake Oahe.” Id. Pursuant to that order, the Corps

respectfully provides the following Status Report.




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    I.      The Army and Corps’ Regulations and the Omaha District’s Memorandum
            regarding encroachments

         Following this Court’s order vacating the easement allowing the Dakota Access Pipeline

(Pipeline) to cross under Lake Oahe, ECF No 545, as per the policies and procedures of the

Department of the Army (Army), the United States Army Corps of Engineers (Corps), and the

Corps’ Omaha District, the Pipeline now constitutes an “encroachment” on federal property. In

the Corps’ remedy briefing, ECF Nos. 507, 536, and during the August 10, 2020, status

conference, the Corps described the process for addressing encroachment as outlined by the

Corps’ Engineer Regulations and an Omaha District Memorandum providing guidance as to

application of those regulations. Consistent with this Court’s instructions at the August 10, 2020

Conference, the Corps herein describes in greater depth the relevant Engineer Regulations and

the processes the Corps is undertaking guided by these documents.

         There are two main Corps and Army Regulations 1 and one Memorandum at issue here:

            •   First, a Department of the Army publication that describes the Army’s policies

                and procedures regarding real estate. See Exhibit 1, Department of the Army,

                Management of Title and Granting Use of Real Property, Army Regulation (AR)

                405-80, October 10, 1997.



1
  The Army and Corps documents described herein are titled “Engineer Regulations” and “Army
Regulations,” respectively. The Army and its components generally refer to their published
internal procedures and rules as “regulations.” See https://go.usa.gov/xGYuH (Army
Regulations); https://go.usa.gov/xGYuF (Corps Engineer Regulations). However, it is important
to note that these documents were not published through notice-and-comment rulemaking
pursuant to the Administrative Procedure Act (APA). See 5 U.S.C § 551(g) (defining a
regulation as a legislative rule promulgated under the notice-and-comment procedures of 5
U.S.C. § 553); 44 Fed. Reg. 3168-01. Under the definitions of the APA these documents are not
“regulations” but “interpretative rules, general statements of policy, or rules of agency
organization, procedure, or practice.” 5 U.S.C. § 553(b)(A).



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           •      Second, the Corps’ Real Estate Handbook. See Exhibit 2, U.S. Army Corps of

                  Engineers, Real Estate Handbook, Engineer Regulation (ER) 405-1-12,

                  September 30, 1994 (hereinafter, Real Estate Handbook).

           •      Third, the Corps’ Omaha District’s internal Memorandum regarding the District’s

                  process for addressing encroachments consistent with Corps and Army

                  Regulation. See Exhibit 3, U.S. Army Corps of Engineers, Omaha District, Real

                  Estate Encroachments, DM 405-2-1, October 1, 1980 (hereinafter, Omaha

                  Memorandum).

       In general, the Army’s Management of Title and Granting Use of Real Property

document provides the Army’s “policy relating to granting use of real property.” Exhibit 1 at 1.

The Corps’ Real Estate Handbook “describes existing procedures pertinent to the real estate

activities of the Corps of Engineers as they relate to the acquisition, management and disposal of

lands for the Department of the Army (military and civil works)….” Procedures Relating to

Acquisition, Management and Disposal of Lands, 44 Fed. Reg. 3168-01; Exhibit 2. The Omaha

Memorandum “[p]rescribes policy and procedures” the District uses to address encroachments.

Exhibit 3 at 1.

       Regarding encroachments specifically, the Real Estate Handbook provides that the

Corps’ general “policy is to require removal of encroachments” and restoration of the premises.

Id. at 8-12. However, the Handbook provides for exceptions to this general policy, noted within

the four primary means of curing an encroachment. Id. at 8-13. The “four basic methods of

curing an encroachment” are “removal, disposal, exchange, and outgrant….” Exhibit 2 at 8-14.

Exchange in this context means “exchange of Government-owned lands and interests therein for

private lands and lands owned by states, other non-Federal agencies, and their instrumentalities.”

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Id. at 11-49. Disposal involves selling, giving away, or otherwise disposing of property interests

of the United States. Id. at 11-42. Although every option available to the Corps in its exercise of

enforcement discretion is being considered, the two most plausible options at this point are

“removal” and “outgrant.” See id.

       Neither the Army or Corps Regulations or the Omaha Memorandum require the Corps to

take any particular action to cure an encroachment within a specified time period, nor is there

any requirement to ultimately cure the encroachment at all. And a determination to take any

enforcement action rests within the discretion of the Corps and the Department of Justice as

appropriate. However, if the Corps ultimately seeks to exercise its enforcement discretion to

cure the encroachment through removal, the Management of Title and Granting Use of Real

Property document and Real Estate Handbook provide for the Corps initially to seek to have the

encroaching party remove the encroachment voluntarily. If the encroaching party is cooperative,

the regulations provide for the Corps to allow “a reasonable period of time . . . for voluntary

removal.” Id. at 8-14. If the encroaching party is not cooperative in removing the encroachment,

the Handbook provides for the matter “to be referred to the U.S. Attorney.” 2 Id.

       As noted above, the Army’s Management of Title and Granting Use of Real Property

document, Corps’ Real Estate Handbook, and Omaha Memorandum recognize that an

encroachment can be resolved through an outgrant, which is an umbrella term for an instrument

that authorizes, inter alia, “private organizations…to use Army (military or civil) controlled real




2
 The Corps does not have independent litigating authority and thus any enforcement actions
brought as described here would be subject to the discretionary litigating authority of the
Department of Justice under the direction of the Attorney General. See 28 U.S.C. § 516;
Sourcebook for United States Agencies (2018), https://www.acus.gov/research-
projects/sourcebook-united-states-executive-agencies-second-edition.

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property.” Id. at 8-33; Exhibit 1 at 11. The Real Estate Handbook provides that “[a] lease,

easement or license may be appropriate depending on the nature of the encroachment. In

easements areas, a consent to structure, if applicable under the easement estate, may be issued

after the fact.” Id. at 8-15. The method of approving an outgrant depends on the encroachment

at issue. In this case, any easement for the Pipeline could be granted—just like the original, now

vacated easement—under the process set forth in the Mineral Leasing Act (MLA), 30 U.S.C. §

181 et seq. This process governs rights-of-way through federal lands “for pipeline purposes for

the transportation of oil, natural gas, synthetic liquid or gaseous fuels, or any refined product

produced therefrom.” The MLA authorizes the head of a federal agency “which has jurisdiction

over Federal lands” to grant “[r]ights-of-way through any Federal lands” for such purposes. 30

U.S.C. § 185(a) and (b)(3); see ECF Nos. 183, 238.

       Rights-of-way under the MLA are “subject to such terms and conditions as the . . .

agency head may prescribe regarding extent, duration, survey, location, construction, operation,

maintenance, use, and termination.” 30 U.S.C. § 185(f). To decide whether to grant easements

under the MLA, the Corps generally follows the policies and procedures in Chapter 8 of the Real

Estate Handbook, and the Army’s Management of Title and Granting Use of Real Property

document. See Exhibits 1-2. The Real Estate Handbook provides for the Corps to evaluate

whether “the proposed easement will not be inconsistent with the authorized purposes of the

Federal installation or project.” Exhibit 2. The Handbook also provides for site-specific

environmental, cultural, and operational requirements to be added to the easement as appropriate.

Id. The Corps may also impose any special requirements for safe operation of a pipeline or

related facilities. Exhibit 3 at 8-110 and 8-113. If the Corps finds that a pipeline is not

inconsistent with the authorized purposes of the Corps project and its lands, the Corps may sign a

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real estate instrument that grants the easement.

         The Real Estate Handbook’s specified procedures for outgrants expressly contemplate

“Compliance with NEPA.” Exhibit 2 at 8-22. In particular, those procedures explain that “the

environmental review required by NEPA” might result in preparation of an “Environmental

Impact Statement (EIS).” Id.

   II.      The process the Corps is following and steps taken regarding the encroaching
            Pipeline

         The Omaha Memorandum provides the procedures the Omaha District is following to

address the encroaching Pipeline, consistent with the Army and Corps Regulations. This process

involves, in general, coordination between the various Corps components and other agencies to

ascertain whether the Pipeline’s unauthorized use presents risk to the Corps’ project and to find

the best way to ultimately “cure” the encroachment, or, in other words, to resolve the situation of

unauthorized use of the property interest. Specifically, the Corps has undertaken the following

steps:

         First, coordination is ongoing between various Corps components including the Real

Estate Division, Operations Division, the Area Engineer, Real Estate Field Office, and the

Department of Justice as outlined by the Omaha District Memorandum. See Exhibit 3 at 7.

         Second, as discussed at the August 10, 2020, conference, because of the nature of this

encroachment—a pipeline—the Corps has also sought input from the Pipeline and Hazardous

Materials Safety Administration (PHMSA) and Department of Energy (DOE). This coordination

is also ongoing.

         Third, the Corps is proceeding with the EIS process pursuant to this Court’s March 25,

2020, order (ECF No. 496). The Corps anticipates finalizing a formal Notice of Intent to prepare

an EIS by September 4, 2020 and anticipates submitting it to be processed for publication in the
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Federal Register shortly thereafter.

       Fourth, the Corps is in contact with and coordinating with the owner of the Pipeline,

Dakota Access LLC (“Dakota Access”), regarding the encroachment. On August 17, 2020, the

Corps notified Dakota Access of the Pipeline’s encroachment status and described the process

the Corps is embarking on to determine the appropriate resolution of the encroachment on

federal lands. See Exhibit 4 (Correspondence between the Corps and Dakota Access). In that

notice, the Corps conditioned its discretion to not immediately recommend an enforcement

action to the Department of Justice upon Dakota Access’s agreement to expressly abide by the

conditions contained in the vacated easement and to provide any information that the Corps

requests to inform its review of measures to address the encroachment. On August 20, Dakota

Access confirmed that it will continue to comply with the easement conditions and provide

information the Corps requests as outlined in the Corps’ letter. Id.

       Fifth, consistent with the Court’s directive to confer with the parties regarding mitigation,

the Corps is engaging in discussions regarding potential additional safety measures. The Corps

has held several discussions with Dakota Access and has received correspondence from the

Plaintiff Tribes. The Corps is also aware of additional communications between the Tribes and

Dakota Access. On August 20, 2020, Dakota Access sent a letter to the Tribes stating that,

although the company did not believe additional mitigation was necessary, “it nonetheless is

willing to consider other mitigation measures that Plaintiffs believe would be appropriate.”

Exhibit 5. Dakota Access asked the Tribes to propose “specific proposed mitigation measures

that you believe could further enhance DAPL’s safety.” Id. On August 28, 2020, the Plaintiff

Tribes sent the Corps and Dakota Access a letter stating the Tribes’ position is that the only way

to ensure the safety of the pipeline is to “shut it down pending a full environmental review.”

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Exhibit 6. The Tribes also take the position that they need additional information and will not

discuss mitigation measures before receiving such information. Id. The Corps will consider the

Tribes’ request for information and nonetheless invites the Tribes to propose any safety-

enhancing mitigation measures they believe are warranted. The Corps will consider any such

proposals if and when it receives them.

          Sixth, as stated at the August 10, 2020, status conference, the Corps will consider

communications from the Plaintiff Tribes as part of the process. In addition to the

communications described above, the Corps received a letter, Exhibit 7, from Plaintiff Yankton

Sioux Tribe asking the Corps to direct Dakota Access to “empty the Dakota Access Pipeline of

oil and cease operation of the Pipeline indefinitely.” Id. The Corps will consider that letter as it

proceeds with its process.

   III.      Steps the Corps anticipates taking regarding the encroaching Pipeline

          Consistent with the Army and Corps’ Regulations and the Omaha District Memorandum,

the Corps anticipates continuing to seek information and to coordinate internally and with other

federal agencies as it continues the encroachment review process. Specifically, the steps the

Corps anticipates include the following:

          First, the Corps anticipates additional coordination between its offices and officials. See

Exhibit 3 at 7.

          Second, the Corps anticipates additional coordination between the Corps, PHMSA, and

DOE. The Corps anticipates continuing to seek PHMSA’s input as to how to continuously

assess the safety of the Pipeline and Lake Oahe crossing, including but not limited to informing

the Corps’ engagement pursuant to the court-ordered discussion of mitigation measures. The

Corps anticipates also continuing to seek PHMSA’s input as to any other relevant design, safety,

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or operational factors the agency should consider while evaluating the encroachment.

       Third, as described above, the Corps anticipates finalizing the NOI for the EIS ordered by

this Court and publishing it in the Federal Register.

       Fourth, the Corps anticipates additional coordination with Dakota Access regarding

information requests and any additional mitigation measures that may be considered.

       Fifth, as discussed at the August 10, 2020, conference, the Corps anticipates completing

an evaluation under the encroachment policies described above and making a recommendation to

the Department of Justice regarding whether to seek enforcement action against the encroaching

Pipeline. At the August 10, 2020, conference, the Corps represented that it intended to make an

initial decision as to enforcement action against to Pipeline within 60 days. However, the Corps

notes that, if it declines to pursue an enforcement action within 60 days, it does not waive any

right to seek such an enforcement action in the future. The Corps retains the ability to exercise

its enforcement discretion to adapt its enforcement recommendations based on new information.

Therefore, in its discretion the Corps may elect to take enforcement action at any time, or defer

making a decision on enforcement action until completion of the NEPA and MLA processes

when it has made a decision whether a new easement is warranted.



Dated: August 31, 2020                                  Respectfully submitted,

                                                        JEAN E. WILLIAMS
                                                        Deputy Assistant Attorney General
                                                        United States Department of Justice
                                                        Environment & Natural Resources Division

                                                        By: Reuben Schifman
                                                        REUBEN SCHIFMAN, NY BAR
                                                        MATTHEW MARINELLI, IL Bar 6277967
                                                        U.S. Department of Justice
                                                        Natural Resources Section

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                                    P.O. Box 7611
                                    Benjamin Franklin Station
                                    Phone: (202) 305-4224 (Schifman)
                                    Phone: (202) 305-0293 (Marinelli)
                                    Fax: (202) 305-0506
                                    reuben.schifman@usdoj.gov
                                    matthew.marinelli@usdoj.gov

                                    ERICA M. ZILIOLI, D.C. Bar 488073
                                    U.S. Department of Justice
                                    Environmental Defense Section
                                    P.O. Box 7611
                                    Washington, DC 20044
                                    Phone: (202) 514-6390
                                    Fax: (202) 514-8865
                                    Erica.Zilioli@usdoj.gov
                                    Attorneys for the United States Army Corps
                                    of Engineers

                                    OF COUNSEL:
                                    MILTON BOYD
                                    MELANIE CASNER
                                    U.S. Army Corps of Engineers
                                    Office of Chief Counsel
                                    Washington, DC




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                                 CERTIFICATE OF SERVICE

I, Reuben S. Schifman, hereby certify that on August 31, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, and copies will be sent
electronically to the registered participants as identified in the Notice of Electronic Filing.




       /s/ Reuben Schifman
       REUBEN S. SCHIFMAN




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